
PER CURIAM:
This claim was submitted to the Court for decision upon a Stipulation entered into by Claimant and Respondent wherein certain facts and circumstances of the claim were agreed to as follows:
1. On December 11, 2008, Claimant’s 2005 Ford Explorer struck a road construction barrel that was in the roadway of Interstate 64 in Putnam County.
2. Respondent is responsible for the maintenance of 1-64 which it failed to maintain properly on the date of this incident.
*2103. As a result, Claimant’s vehicle sustained damage in the amount of $1,301.17 totaling out the vehicle. Claimant’s insurance deductible was $500.00 at the time of the incident.
4. Respondent agrees that the amount of $500.00 for the damages put forth by the Claimant is fair and reasonable.
The Court has reviewed the facts of the claim and finds that Respondent was negligent in its maintenance of Interstate 64 on the date of this incident; that the negligence of Respondent was the proximate cause of the damages sustained to Claimant’s vehicle; and that the amount of damages agreed to by the parties is fair and reasonable. Thus, Claimant may make a recovery for the loss.
It is the opinion of the Court of Claims that the Claimant should be awarded the sum of $500.00 on this claim.
Award of $500.00.
